               Case 4:07-cr-40029-JPG                    Document 124 Filed 10/30/07                      Page 1 of 6         Page ID
B A O 2458    (Rev. 06/05) Judgment in a Criminal Case             #280
              Sheet 1



                                         UNITEDSTATESDISTRICTCOURT
                       SOUTHERN                                  District of                                    ILLINOIS

          UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                              v.
                    TYLER L. JAMES                                       Case Number:           4:07CR40029-005-JPG

                                                                         USM Number: 07340-025
                                                                          Melissa Day, FPD                              k

                                                                         Defendant's Attorney
THE DEFENDANT:
@pleaded guilty to count(s)
   pleaded nolo contendere to count(s)
   wh~chwas accepted by the court.
   which
   was found guilty on count(s)                                                                                                             "
   after a plea of not gullty.

The defendant is adjudicated guilty of these offenses:

'l'itle & Section                  Vature of Offense                                                        Offense I.:nded             Count
 21 U.S.C. she                      Conspiracy$ RWibute and Possess with Intent to                           1/31/2007                      1
                                    Distribute 1,000 Kilograms o r More of Marihuana



       The defendant is sentenced as provided in pages 2 through             10          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
   The defendant has been found not guilty on count(s)
   Count(s)                                                 is       are dismissed on the motion of the United States.

         I t 1s orrlcrcd that tk defendant must notify the United Siates attorney for t h i district within 3U d a y of any change of name, rcs~dcnce.
or rn~ihng3drlressunt1l311tines. rcstltutlon. costs, and specwl asscbsnicnts imposed by thib judgment arc fu ly p ~ d I .t ordcrcdto pay rcstlrurton,
thc dcfcndan~mubi notlfy thc coun and i.'nited S t a t e attorney ofnuterial changes in economlc circumstances.

                                                                          10/25/2007
                                                                         Date af lmoosition of Judrment




                                                                          J . Phil Gilbert                             District J u d g e
                                                                         Name of g g e                                Title of Judge
                   Case 4:07-cr-40029-JPG                Document 124 Filed 10/30/07                     Page 2 of 6       Page ID
A 0 2458        (Rev. 06105) Judgment in Criminal Case             #281
                Sheet 2 -Imprisonment
                                                                                                          Judgment-Page   -
                                                                                                                          2 af       10
DEFENDANT: TYLER L. JAMES
CASE NUMBER: 4:07CR40029-005-JPG


                                                                 IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of.

  8 4 months on Count 1 of the Indictment,




      Lf The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.
  That the defendant be placed in a facility with a trade program.


      @ The defendant is remanded to the custody of the United States Marshal
           The defendant shall surrender to the United States Marshal for this district:

                  at                                      a.m.         p.m.     on
           [7     as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2 p.m. on
                  as notified by the United States Marshal.
                  as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                            to

 at                                                      , with a certified copy of this judgment.


                                                                                                        UNITED STATES MARSHAL


                                                                              BY
                                                                                                     DEPUTY UNITED STATES MARSHAL
                 Case 4:07-cr-40029-JPG                  Document 124 Filed 10/30/07                     Page 3 of 6          Page ID
                                                                   #282
A 0 2458      (Rev. 06105) Judgment in a Criminal Case
              Sheet 3   Supervised Release


DEFENDANT: TYLER L. JAMES
                                                                                                            Judgment-Paee.
                                                                                                                             -  2
                                                                                                                                u
                                                                                                                                      of        ~n
                                                                                                                                                0"



CASE NUMBER: 4:07CR40029-005-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

 5 years on Count 1 of the Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%nit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as detemnned by the court.
        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, deshuctive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule o f l ~ a ~ m e nsheet
                           t s of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month;
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
           controlled substance or any paraphemaha related to any controlled substances, except as prescnbed by a phys~c~an;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
           the defendant shall not associate with any persons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the protation officer;
           the defendant shall p e y i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed m pla~nview of the probat~onofficer;
           the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  131      35 d1rectc.d by tbr
                             roballon officer, the dekndant shall not~iythlrtl panlcs of r~sksthar may bc occas~onedby the dcfendanl'~cr~mlnal
           re~urdor ,pcr>onaYhistoly or charactcr~sticsand ,hall perm11 the proballon officer to nuke such not~fical~ons    and lo confirm the
           defendant s compllance \ r ~ t hsuch not~ficationrequlrenicnt
A 0 2458
            Case 4:07-cr-40029-JPG
           (Rev. 06105) Judgment in a Criminal Case
                                                      Document 124 Filed 10/30/07         Page 4 of 6        Page ID
           Sheet 3C - Supervised Release                        #283

DEFENDANT: TYLER L. JAMES
                                                                                             Judgment-Page
                                                                                                             -
                                                                                                             4      of      10

CASE NUMBER: 4:07CR40029-005-JPG

                                         SPECIAL CONDITIONS OF SUPERVISION
 The defendant shall submit to one drug test within 15 days after being released on supervision and at least two periodic
 drug tests thereafter, not to exceed 52 tests in a one year period.

 The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income, whichever is greater.

 The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 The defendant shall participate in a cognitive change program as directed by the probation officer.

 The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicate monies.

 The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Drug tests shall not exceed 52 tests in a one year period.
 Any participation will require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs
 associated with substance abuse counseling andlor testing based on a copay sliding fee scale approved by the United
 States Probation Office. Copay shall never exceed the total costs of counseling.
A 0 2458
              Case 4:07-cr-40029-JPG
           (Rev. 06105) Judgment in a Criminal Case
                                                        Document 124 Filed 10/30/07                         Page 5 of 6      Page ID
           Sheet 5 C r i m i n a l Monetary Penalties             #284

DEFENDANT: TYLER L. JAMES
                                                                                                        Judgment - Page
                                                                                                                          -
                                                                                                                          5        of       10

CASE NUMBER: 4:07CR40029-005-JPG
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                       -
                                                                         Fine                                  Restitution
 TOTALS             $ 100.00                                           $ 200.00                              $ 0.00



 [7 The determination of restitution is deferred until    -. An Amended Judgment in a Criminal Case (A0 245C) will be entered
    after such determination.

      The defendant must make restitution (including community restitution) to the following payees in the amount listed below

      If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
      the priority order or percentage payment column%elow. However, pursuant to 18 Js.6. 9 36640, all nonfederal vlctlms must be pa~d
      before the United States is pald.

 Name o        m                                                           Total*               Restitution Ordered       Prioritv or Percentage




 TOTALS                                  $                     0.00            $                       0.00


       Restitution amount ordered pursuant to plea agreement $

       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. 9 3612(g).

 8(    The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       @ the interest requirement is waived for the           @ fine           restitution.
       'J the interest requirement for the              fme           restitution is modified as follows:


 * Findings for the total amount of losses are re uiredunder Chapters 109A, 110, I IOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before Aprtl23, 199%.
A 0 245B
              Case 4:07-cr-40029-JPG
           (Rev.06105) Judgment in a Crim~nalCare
                                                     Document 124 Filed 10/30/07                      Page 6 of 6         Page ID
           Sheet 6 -Schedule   of Payments                     #285
                                                                                                        Judgment - Page      6     of       10
DEFENDANT: TYLER L. JAMES
CASE NUMBER: 4:07CR40029-005-JPG

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A          Lump sum payment of $                             due immediately, balance due

                 not later than                                 ,or
                 in accordance               C,      D           E, or     @fF below; 01

B     [7 Payment to begin immediately (may be combined with                C,          D, or        F below); or

C     [7 Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                     (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     [7 Payment during the term of supervised release will commence w i t h                (e.g., 30 or 60 days) after release from
         imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     @f Special instructions regarding the payment of criminal monetary penalties:
           While incarcerated, the defendant shall make monthly payments consisting of one-half of the amount of monthly
           deposits into the defendant's inmate trust account; however, if the account balance is less than $20.00, no
           payment shall be required. While on supervised release, the defendant shall make monthly payments in the
           amount of $10.00 or ten percent of his monthly income, whichever is greater, toward his fine.


Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, a ent of criminal monetary penalties is due durin
impnsoqept. All cnminarmoneta penalties, except k o s e payments made througf g ~ e d e r a Bureau  l      of Prisons' Inmate FinanciJ
Respons~blhtyProgram, are made t o x e clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      The defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

[7    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
